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UNITED STATES DISTRICT COURT

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JU/-\NA V|LLEGAS

V.
l\/|ETRO GOVERNl\/|ENT, et al

DISTRICT OF TENNESSEE

EXHIBIT AND WITNESS LIST

Case Number: 3:090v-0219

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PRESIDING JUDGE PLAIN'I`IFF’S ATTORNEY DEFENDANT’S ATTORNEY
WlLL|Al\/| J. HAYNES, JR. HARRY ELL|OTT OZ|\/|ENT ALL|SON BUSSELL & KEV|N KLE|N
TRIAL DATE (S) COURT REPORTER COURTROOM DEPUTY
8/16/11-8/18/2011 PEGGY TURNER l\/Iegan Gregory/Jessica Bourne
;LOF" RIFE)F" OFDF§§§D MARKED ADMITTED DESCRIPTION OF EXHIBITS* AND WITNESSES
W 8/16/2011 Dr. Ji|| DeBona
1 8/16/2011 X X Dr. Ji|| De Bona's Curricu|um Vitae
2 8/16/2011 X X Estimate Cost of Medica| Care and Treatment
3 8/16/2011 X X |nitia| Expert Report of Lisbedth Cardona, MSN, |\/|A, PMHNP-BC, LADAC - August 9, 2010
33 8/17/2011 X X Medical Records Custodian Afndavit-Mark King
3a 8/17/2011 X X Affldavit of Custodian of Medica| Records~.lana Gal|emore~ June 10, 2009
3b 8/17/2011 X X Afidavit of Custodian of Medica| Records-Bonnie Paugh- June 22, 2011
16 8/17/2011 |D Affldavit of Medica| Records Custodian-Freda Scott
9 8/17/2011 X X P|aintiff's Vaccine Administration Record
W 8/17/2011 P|aintiff Juana Vi||egas
4 8/17/2011 X X Shack|es-hand restraints
5 8/17/2011 X X Shack|es»leg restraints
36 8/17/2011 |D Trla| statement of Dr. Robert Barth
37 8/17/2011 lD Tria| statement of Dr. Bennett Spete|nick
6 8/17/2011 X X Expert Report of Dr. Jorge Boero
7a 8/17/2011 X X Expert Report of Dr. Ji|| DeBona 1
7b 8/17/2011 X X Expert Report of Dr. Ji|| DeBona 2
7c 8/17/2011 X X Expert Report of Dr. Jil| DeBona 3
W 8/17/2011 Maggie Hernandez
35 8/17/2011 |D Baptist Medica| Records

 

 

 

 

 

 

 

 

 

* Include a notation as to the location of any exhibit not held wit

h the case file or not available because of size.

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